  Case 2:21-cr-00075-WJM Document 56 Filed 10/27/21 Page 1 of 5 PageID: 229




                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY




 UNITED STATES OF AMERICA
                                                          Crim. No. 21-75 (WJM)
        v.


 DUWANN ELLIOTT,                                                  OPINION



       Defendant Duwann Elliott moves to suppress evidence he alleges was illegally
seized. ECF No. 51. For the reasons below, Defendant’s request for an evidentiary hearing
and for leave to file additional motions are both GRANTED.
   I.        FACTUAL BACKGROUND
       On or about September 26, 2019, uniformed and plainclothes law enforcement
officers including members of the Newark Police Department (“NPD”) were conducting
surveillance and monitoring for any unusual activity at a funeral home in the area of
Roseville Avenue and Park Avenue in Newark, New Jersey (“Funeral Home”). Because
the funeral was for a victim of a homicide that had occurred on September 22, 2019, law
enforcement suspected the possibility of retaliation. ECF No. 53-1, Newark Police Incident
Report.
       According to the police report, at approximately 11:35 a.m., Detectives Vincent
Silva and Edwin Carrero were conducting surveillance outside of the Funeral Home from
an unmarked vehicle positioned in a supermarket parking lot near the Funeral Home
(“Parking Lot”). Detective Silva observed a female sitting in the driver’s seat (“Driver”) of
a white BMW X5 Sports Utility Vehicle (“SUV”), which was parked in the same lot facing
away from the Funeral Home. The law enforcement vehicle was parked head on to the
SUV. Id. Detective Silva noticed the Driver repeatedly peering over her left shoulder
towards the Funeral Home and looking at her cell phone. Detective Carrero observed the
same conduct, viewed the Driver more closely using 12 x 50 binoculars, and took
photographs of her with his cell phone. ECF No. 53-3. The Driver briefly left the SUV to
buy ice cream from an ice cream stand and then returned to the SUV and continued to look
towards the Funeral Home and her cell phone.


                                             1
  Case 2:21-cr-00075-WJM Document 56 Filed 10/27/21 Page 2 of 5 PageID: 230




       At approximately 12:12 p.m., Detective Silva observed Defendant walk from the
direction of the Funeral Home to the driver side of the SUV and have a brief conversation
with the Driver. Defendant challenges that the officers were able to see what the
Government alleges occurred next. According to the Government, Defendant then walked
around the rear of the SUV, opened the front passenger side door, reached towards the front
passenger seat, and appeared to unravel a dark colored sweater. Next, Detective Carrero
purportedly observed Defendant take a dark object from the SUV, place it into his
waistband, and cover it with the bottom of his white t-shirt, all while looking around his
immediate vicinity. Detective Carrero then claims he saw Defendant grab a black hooded
sweater from the passenger seat and tightly wrap the sleeves of the sweater around his waist
while firmly adjusting the knot before walking towards the Funeral Home. Detective
Carrero notified additional law enforcement officers to further investigate.
        Detectives Steven Resendes and Marc Castro, upon approaching Defendant, purport
to have asked him whether he was in possession of any illegal contraband or a firearm. In
response, Defendant immediately grabbed his waistband area and pulled away from law
enforcement. Law enforcement frisked Defendant’s waistband, found a .40 caliber Black
Glock 23 and 15 rounds of hollow nose ammunition, and then placed the Defendant under
arrest. ECF No. 53-1. In contrast, Defendant certifies that upon approach, the officers
immediately seized and placed him under arrest without first identifying themselves or
questioning him. ECF No. 55-2. Defendant claims that he was searched after his arrest. Id.
       NPD charged Defendant with unlawful possession of a weapon pursuant to N.J.S.A.
2C:39-5B(1); unlawful possession of a large capacity ammunition magazine pursuant to
N.J.S.A. 2C:39-3J; and unlawful possession of hollow nose bullets pursuant to N.J.S.A.
2C:39-3F(1). The matter was transferred to the District of New Jersey and on January 15,
2021, Defendant was indicted by a federal grand jury and charged with Possession of a
Firearm and Ammunition by a Convicted Felon in violation of 18 U.S.C. § 922(g)(1).
   II.    DISCUSSION
        Defendant contends that his seizure was not a valid investigatory stop supported by
reasonable suspicion as required under Terry v. Ohio, 392 U.S. 1 (1968), but rather, was a
warrantless arrest that lacked probable cause in violation of the Fourth Amendment. Thus,
Elliott moves to suppress the gun and ammunition evidence as fruits of an unlawful search
and seizure, or that an evidentiary hearing be held. The Government’s view, however, is
that Defendant has not established the need for an evidentiary hearing because law
enforcement conducted a valid Terry investigatory stop based on reasonable suspicion and
that upon discovery of a gun and ammunition, probable cause justified a warrantless arrest.
       A hearing regarding a motion to suppress evidence is necessary when a defendant
presents a “motion [that] is sufficiently specific, non-conjectural, and detailed to enable the
court to conclude that (1) the defendant has presented a colorable constitutional claim, and

                                              2
    Case 2:21-cr-00075-WJM Document 56 Filed 10/27/21 Page 3 of 5 PageID: 231




(2) there are disputed issues of material fact that will affect the outcome . . . .” E.g., United
States v. Fattah, 858 F.3d 801, 810 (3d Cir. 2017) (quoting United States v. Hines, 628
F.3d 101, 105 (3d Cir. 2010)); see also United States v. Panitz, 907 F.2d 1267, 1273-74
(1st Cir. 1990) (“The test for granting an evidentiary hearing in a criminal case should be
substantive: [D]id the defendant make a sufficient threshold showing that material facts
were in doubt or dispute?”).
        A. Defendant’s Motion to Suppress Evidence
           1. Reasonable Suspicion for Terry stop
       Defendant has not presented an alternate version of the events in the Parking Lot as
described by Detective Carrero 1 but disputes that retaliation would have been suspected at
the funeral of the homicide victim, that the Driver’s conduct was suspicious, that his
movements were furtive, and that Detective Carrero, from his vantage point, could possibly
have observed Defendant placing a “dark object” in his waistband through 1) a closed
driver’s side door; 2) an occupied vehicle; and 3) a busy parking lot with foot traffic and
other parked vehicles. ECF No. 51-1, Def. Mot. at 7-8.
        Even assuming that Detective Carrero could not see Defendant putting a “dark
object” in his waistband, the Government contends that the totality of the circumstances
weighs in favor of finding that there was reasonable suspicion to conduct a Terry stop: the
events at issue occurred in the context of surveillance necessitated by law enforcement’s
belief that retaliation might occur at the Funeral Home; the Driver’s conduct aroused the
suspicion of two law enforcement officers with approximately 20 years of collective
experience; Defendant was looking around the immediate vicinity while at the SUV, and
then he walked towards the Funeral Home with a sweater wrapped around his waistband,
which is an area of the body from which Detective Carrero has often recovered firearms
from defendants.
        Once law enforcement has reasonable suspicion that the defendant intended to
conceal a weapon, they are justified in searching for the weapon in the scope of a valid
Terry stop. United States v. Wallace, 450 F. App’x 175, 177 (3d Cir. 2011) (quoting United
States v. Robertson, 305 F.3d 164, 170-71 (3d Cir. 2002). Thus, to the extent that law
enforcement frisked Defendant’s waistband and found the weapon and ammunitions in the
scope of a valid Terry stop, then the discovery of the gun and of ammunitions are factors
in the determination of probable cause for a warrantless arrest.
       However, not only does Defendant dispute that law enforcement had reasonable
suspicion to stop him as he was “walking harmlessly on the streets of Newark,” Defendant

1
 The Government suggests that Detective Carrero’s description of the Parking Lot events is
corroborated by surveillance footage from the Parking Lot. ECF No. 53, Gov. Opp’n Br. at 8.
However, the Government has not provided the Court with a copy of that surveillance footage.
                                               3
  Case 2:21-cr-00075-WJM Document 56 Filed 10/27/21 Page 4 of 5 PageID: 232




posits that officers did not conduct a valid investigatory stop pursuant to Terry because he
was seized and placed under arrest prior to questioning and before he “pulled away” or was
frisked. Therefore, Defendant asserts that his warrantless arrest required a showing of
probable cause, not merely reasonable suspicion.
          2. Probable Cause for Warrantless Arrest
       If, as the Government contends, the warrantless arrest occurred after the frisk that
occurred in the scope of the Terry stop, then the discovery of the gun and of ammunitions
are factors in the determination of probable cause. If, however, the arrest occurred prior to
the frisk, then the gun and ammunitions cannot be considered in the probable cause
analysis. United States v. Brown, 448 F.3d 239, 245 (3d Cir. 2006) (recognizing that timing
of seizure could favor one party or the other since flight from lawful frisk or arrest can
contribute to reasonable suspicion analysis but plays no role if seizure occurred before
attempted escape).
       Because the order of events is significant to determine whether reasonable suspicion
and probable cause existed, Defendant’s motion raises “issues of fact material to the
resolution of the defendant’s constitutional claim [of a violation under the Fourth
Amendment],” Hines, 628 F.3d at 105, cert. denied, 563 U.S. 952 (2011). Defendant’s
request for an evidentiary hearing is therefore granted.
       B. Evidentiary Hearing
       Defendant argues that the Government should not be granted any favorable
inferences at the evidentiary hearing due to NPD’s failure to preserve certain evidence that
would have corroborated his version of events. Specifically, Defendant claims that the
discovery has been destroyed or not properly preserved as follows:
       1. Witnesses: Government unable to confirm other NPD who witnessed
          Defendant’s arrest
       2. Body Cameras: not produced or preserved
       3. Dash Cameras: not produced
       4. Surveillance Footage at intersection of Roseville and Park Avenues where arrest
          occurred: not produced or preserved
       5. Surveillance Footage from private entities where arrest occurred: NPD requested
          and produced footage from Bravo supermarket, but did not request or preserve
          from other entities
       6. Radio Transmission: not produced or preserved from 11:35 AM – 12:16 PM
          referenced in Detective Carrero’s report
      Because Defendant raises this argument for the first time in his reply brief, the
Government has not had an opportunity to respond. The Government may provide a
response on this issue by no later than November 2, 2021.

                                             4
  Case 2:21-cr-00075-WJM Document 56 Filed 10/27/21 Page 5 of 5 PageID: 233




       C. Defendant’s Motion for Leave to File Additional Motions As they Become
          Appropriate
       Because discovery remains ongoing, Defendant asks that he be permitted to file
additional motions as necessary until a trial date is set. The Government does not oppose
Defendant’s motion so long as any additional motions are limited to issues raised by future
Government disclosures. Accordingly, Defendant’s motion to file additional motions is
granted to the extent that such motions are limited to issues raised by future Government
disclosures.


   III.   CONCLUSION
       For the reasons noted above, Defendant Duwann Elliott’s request for an evidentiary
hearing and his motion for leave to file additional motions limited to issues raised by future
Government disclosures are both granted. An evidentiary hearing shall be held on
Monday, November 8, 2021 at 12 PM.




                                                  /s/ William J. Martini
                                                  WILLIAM J. MARTINI, U.S.D.J.


Date: October 27, 2021




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